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7
                                      UNITED STATES DISTRICT COURT
8                                    NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
9
     UNITED STATES OF AMERICA,                     )    No. CR-05-00216-WHA
10                                                 )
              Plaintiff,                           )
11                                                 )
         v.                                        )
12                                                 )    [Proposed] SPEEDY TRIAL ORDER
     RODERICK ALYN PRESCOTT,                       )
13                                                 )
              Defendant.                           )
14                                                 )
15            On June 29, 2005, defendant Roderick Alyn Prescott was charged in a Superseding
16   Indictment with two counts of tax evasion in violation of 26 U.S.C. § 7201, and one count of
17   conspiracy to defraud the United States in violation of 18 U.S.C. § 371. Mr. Prescott was
18   arraigned on August 16, 2005.
19            The parties previously appeared before the Court on August 16, 2005, for a status
20   conference. That matter was set over to October 4, 2005. By prior Order entered August 23,
21   2005, the Court excluded time from August 16, 2005, through October 4, 2005, under the Speedy
22   Trial Act due to the complexity of the case and for the continuity and effective preparation of
23   counsel pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv).
24            The parties appeared before the Court on October 4, 2005, for a status conference.
25   During the hearing, the Court set November 22, 2005, at 2:00 p.m as the date and time when
26   defendant Prescott’s pretrial motions shall be heard. The defendant Prescott shall file his pretrial
27   motions on or before October 25, 2005. The United States, defendant Prescott and his attorney,
28   agree that the time between October 4, 2005, and October 25, 2005, is properly excludable under

     [Proposed] Speedy Trial Order
     Case No. CR-05-00216 W HA
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1    the Speedy Trial Act due to the complexity of the case and for the continuity and effective
2    preparation of counsel pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv) and that the ends
3    of justice to be served in excluding the time between these dates outweighs the public’s and Mr.
4    Prescott’s interest in a speedy trial.
5        IT IS HEREBY ORDERED that the time from October 4, 2005, through October 25, 2005, is
6    excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv),
7    based on the reasons set forth above.
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     Dated:                October 11, 2005                         IT IS S




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10                                         HONORABLE WILLIAM H. ALSUP                p
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                                           United States DistrictJudJudge
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     [Proposed] Speedy Trial Order
     Case No. CR-05-00216 W HA
